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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

              v.                                  Case No.       3:88-cr-2lS-J-l2

BILLY JOE McCLAlN




                                         ORDER

       This cause is before the Court on the Defendant's "Motion for Clarification of the

Conflict Between the Court, the B.O.P., and the Probation Office Addendum to the

Presentence Investigation Report (PSI)" (Doc.1784), filed December 12, 2007.              The

Government's motion to dismiss (Doc. 1786) was filed on December 20, 2007.                The

Defendant filed a response to the Government's motion to dismiss (Doc. 1787) on

January 2,2008.

       The Defendant does not seek re-sentencing or a reduction of his sentence, as he

has previously on several occasions, but now requests that the Court correct his Pre-

Sentence lnvestigation Report (PSR) to reflect that subsequent to his original sentencing,

one of the convictions utilized to calculate his criminal history was vacated. For the

reasons set forth below, the Court cannot grant the relief requested by the Defendant, but

will set forth in this Order the facts related to the conviction in dispute as indicated in the

Court record, and will provide a certified copy of this Order to the Bureau of Prisons.

       On February 26, 1992: the Court conducted a hearing to determine whether as a

result of the conviction referred to in paragraph 32 of his PSR being vacated subsequent
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to the Defendant's original sentencing, the Court would impose a different sentence based

upon a recalculation of his Criminal History score to eliminate the five (5) criminal history

points assessed in paragraphs 32 and 34, resulting in a change in his Criminal History

Category from V to Ill. At that time, the Court found that it would still impose a life

sentence based on the Defendant's offense conduct (Offense Level 40), regardless of the

change in the Criminal History calculation from Category V to l l I.       Docs. 1297, 1293,

1725 and 1731.

       The Defendant heretofore has sought to correct his PSR and to have his sentence

reduced as a result of the vacated conviction by filing motions with this Court, writing to the

United States Probation Office, and filing administrative requests with the Bureau of

Prisons. His requests to correct the PSR have all properly been denied because at the

time the Defendant was sentenced, the PSR accurately reflected the Defendant's criminal

history.   It was only subsequent to his sentencincl that the conviction contained in

paragraph 32 was vacated. As a result, there is no authority for the Court, the U.S.

Probation Office, or the Bureau of Prisons to "correct" the PSR.

       Moreover, the Court record reveals that the conviction was vacated and that the

Court fully considered the effect, if any, the vacated conviction should have on the

sentence imposed. Clearly, neither the U.S. Probation Office nor the Bureau of Prisons

has authority to reduce the Defendant's sentence.

       The Defendant now has abandoned his attempt to have his sentence reduced

based upon the vacated conviction, but still seeks to have his PSR corrected so that his

central file with the Bureau of Prisons will reflect that the conviction contained in paragraph

32 was vacated. As stated above, the PSR and the Court record together are accurate

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and contain all the information needed by the Court, so there is no basis to correct them.

The exhibits attached to the Defendant's response to the Government's motion to dismiss

(Doc. 1787) indicate that the Defendant has requested that the Bureau of Prisons correct

his PSR, which it does not have the authority to do. It does not appear from the record

before the Court, that he has made a request to the Bureau of Prisons, supported by

appropriate documentation, to supplement the information contained in his Bureau of

Prisons central file. As a result, the Government's motion to dismiss must be granted,

because if in fact the information contained in the central file is inaccurate, and affects the

Defendant's conditions of confinement, he must first exhaust administrative remedies

before filing a request for relief pursuant to 28 U.S.C. 5 2241. Accordingly, it is

       ORDERED AND ADJUDGED:

       1.     That the Government's motion to dismiss (Doc. 1786) is granted;

       2.     That the Defendant's "Motion for Clarification of the Conflict Between the

Court, the B.O.P., and the Probation Office Addendum to the Presentence Investigation

Report (PSI)" (Doc.1784) is hereby dismissed; and

       3.     That the Clerk is hereby directed to furnish a certified copy of this Order to

the Bureau of Prisons and to the institution where the Defendant is currently incarcerated,

FCC Coleman-Medium.

       DONE AND ORDERED this            1 67 L4 day of January 2008.

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                                            SENIOR UNITED STATES DISTRICT JUDGE
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